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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-05-252-CV





IN RE ALLSTATE TEXAS LLOYDS COMPANY	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and emergency motion for order of stay and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus and emergency motion for order of stay are denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A:	GARDNER, J.; CAYCE, C.J.; and DAUPHINOT, J.



DELIVERED: July 18, 2005

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




